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December 2, 2022

Via ECF Filing

Magistrate Judge James M. Wicks.
United States District Court
Eastern District of New York

Long island Court House

100 Federal Plaza

Central Islip, New York 11722

Re: Parker v. IVF
Docket No.: 19-cv-06945(JS)(JMW)
Our File No.: 28-24035

Dear Judge Wicks:

In response to the Court Order directing that the parties file a Joint Status Letter
on or before December 2, 2022, please be advised that the Mediation has not yet been
scheduled. On November 2, 2022 | wrote to the Mediator requesting available dates to
conduct the Mediation; however, the Mediator, Richard P. Byrne, Esq. advised that he
was reluctant to proceed with Mediation with a pro se plaintiff.

| have advised plaintiff that the defendants have a no pay position and that the only
thing we had hoped to accomplish at Mediation was to be able to convince him to
discontinue the action without costs. Plaintiff has made clear that he is not inclined to
discontinue this matter. Accordingly, we do not believe that Mediation will serve any
purpose.

Plaintiff has renewed his request that we reproduce the discovery exchanged by
the parties that’s not available on the docket since he has been unsuccessful in securing
it from his former attorney. Plaintiff has requested that the file be produced on a USB
thumb drive or via a file sharing link. | have resisted this request because there are
numerous lengthy videos that we would be required to reproduce, together with the
voluminous paper discovery. | have advised that we would make the file available at my
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office for plaintiff and prospective counsel to review. Alternatively, ! would request that
the court order that plaintiffs former attorney promptly produce his file.

Given this dispute, plaintiff requests a conference to resolve this issue so that
plaintiff can move forward with attempting to retain counsel for trial.

Very truly yours,

MONTFORT, HEALY, McGUIRE & SALLEY LLP

James M. Murphy

JMM/dm
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